Case 4:20-cv-00957-SDJ Document 557-6 Filed 07/12/24 Page 1 of 4 PageID #: 19035




                         EXHIBIT 4-B
Case 4:20-cv-00957-SDJ Document 557-6 Filed 07/12/24 Page 2 of 4 PageID #: 19036




                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION




  THE STATE OF TEXAS, et al.,

                                Plaintiffs,
                                                             No. 4:20-cv-00957-SDJ
         vs.

  GOOGLE LLC,

                                Defendant.



                        DECLARATION OF [META EMPLOYEE]
                      FOR THIRD-PARTY META PLATFORMS, INC.

        I, [META EMPLOYEE], declare and state as follows:

 1.     My title is Associate General Counsel, Litigation at Meta Platforms, Inc. (“Meta”).

 2.     In my capacity as Associate General Counsel, I have personal knowledge of the matters

 set forth herein and believe them to be true and correct to the best of my knowledge and belief.

 3.     The U.S. Department of Justice (“DOJ”) served Meta with six Civil Investigative

 Demands (“CIDs”) from November 2019 to October 2020. Three of the CIDs specifically

 referenced Google (“Google CIDs”) and three of the CIDs were related to a separate

 investigation that primarily pulled in documents that Meta produced in other investigations and

 litigation (“Non-Google CIDs”). The Google CIDs were issued on May 6, 2020, June 26, 2020,

 and October 20, 2020.




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Case 4:20-cv-00957-SDJ Document 557-6 Filed 07/12/24 Page 3 of 4 PageID #: 19037




 4.     The first Non-Google CID was issued to Meta on November 26, 2019 (“November 2019

 CID”). The November 2019 CID required production of documents and information dating back

 to January 1, 2010 related to any antitrust or competition-related investigation, inquiry, or

 proceeding by any U.S. or foreign regulator involving Meta, and any antitrust or competition-

 related lawsuits initiated against Meta.

 5.     The second Non-Google CID was issued to Meta on January 28, 2020 (“January 2020

 CID”). The January 2020 CID required production of documents and information for each

 competition-related investigation, inquiry, or proceeding by the Federal Trade Commission

 (“FTC”) or a U.S. state attorney general involving Meta. The January 2020 CID specifically

 sought all documents responsive to a prior CID issued to Meta by the FTC on August 27, 2019

 (“August 2019 FTC CID”) and all communications with the FTC relating to the August 2019

 FTC CID.

 6.     The third Non-Google CID was issued to Meta on May 11, 2020 (“May 2020 CID”) and

 required the reproduction of documents responsive to an FTC CID issued to Meta in April 2020.

 7.     In response to the November 2019, January 2020, and May 2020 Non-Google CIDs,

 Meta produced the documents using the Bates prefix FBDOJ.

 8.     In response to the Google CIDs, Meta negotiated separate search terms and custodians.

 Meta produced the documents using the Bates prefix FBDOJGOOG.

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Case 4:20-cv-00957-SDJ Document 557-6 Filed 07/12/24 Page 4 of 4 PageID #: 19038




 9.     Meta produced all of the documents in the FBDOJGOOG Bates range and a subset of the

 documents in the FBDOJ Bates range to the State Plaintiffs in this litigation on April 23, 2024.

 The documents that Meta produced to the State Plaintiffs reflect the materials Meta identified as

 likely to contain relevant information. The non-produced subset of documents in the FBDOJ

 Bates range that were not produced to the State Plaintiffs are not likely to contain relevant

 information.



       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on July__, 2024
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                                                       [META EMPLOYEE]




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